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ATTORNEYS FOR PLAINTIFF
UNITED STATES OF AMERICA

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MONTANA

BILLINGS DIVISION
UNITED STATES OF AMERICA, | CR 23-101-BLG-SPW
Plaintiff,
VS. PLEA AGREEMENT
ANTHONY JAMES CROSS,
Defendant.

Pursuant to Rule 11 of the Federal Rules of Criminal Procedure, the United
States of America, represented by Zeno Baucus and Jeffrey K. Starnes, Assistant
United States Attorneys for the District of Montana, the defendant, Anthony James
Cross, and the defendant’s attorney, Gillian Gosch, have agreed upon the

following:

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1, Scope: This plea agreement is between the United States Attorney’s
Office for the District of Montana and the defendant. It does not bind any other
federal, state, or local prosecuting, administrative, or regulatory authority, or the
United States Probation Office.

2. Charges: Defendant agrees to plead guilty to Count | of indictment,
which charges Threats to Injure and Murder a United States Senator, in violation of
18 U.S.C. § 115(a)(1)(B) and (b)(4). This offense carries a maximum of ten years
imprisonment, a $250,000 fine, three years of supervised, and a $100 special
assessment.

At the time of sentencing, provided the plea agreement is accepted by the
Court, the United States will move to dismiss Count 2 of the indictment against the
defendant.

3. Nature of the Agreement: The parties agree that this plea agreement
will be governed by Rule 11(c)(1)(A) and (B), Federal Rules of Criminal
Procedure. The defendant acknowledges that the agreement will be fulfilled
provided the United States: a) moves to dismiss Count 2 of the indictment against
the defendant and b) makes the recommendations provided below. The defendant
understands that if the agreement is accepted by the Court, there will not be an
automatic right to withdraw the plea even if the Court does not accept or follow the

recommendations made by the United States.

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Agreement as to relevant conduct: the defendant agrees and admits that all
conduct reflected in the Indictment shall be considered relevant conduct for
purposes of sentencing.

4, Admission of Guilt: The defendant will plead guilty because the
defendant is in fact guilty of the charge in Count 2 of the indictment. In pleading
guilty, the defendant acknowledges that:

First, the defendant made a threat;

Second, the threat to assault or murder was made against a United States
official;

Third, the defendant made the threat with the intent to impede, intimidate,
interfere with, or retaliate against that official; and,

Fourth, the defendant made the threat while the United States official was
engaged in or on account of the performance of his duties.

Fifth, the defendant acted recklessly in transmitting the threat, that is with a

conscious disregard for the substantial and unjustifiable risk that others

could regard his statements as threatening violence.
United States officials includes members of Congress.

5. Waiver of Rights by Plea:

(a) The government has a right to use against the defendant, in a

prosecution for perjury or false statement, any statement given under oath during
the plea colloquy.

(b) The defendant has the right to plead not guilty or to persist ina

plea of not guilty.

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(c) The defendant has the right to a jury trial unless, by written
waiver, the defendant consents to a non-jury trial. The United States must also
consent and the Court must approve a non-jury trial.

(d) The defendant has the right to be represented by counsel and, if
necessary, have the Court appoint counsel at trial and at every other stage of these
proceedings.

(e) Ifthe trial is a jury trial, the jury would be composed of 12
laypersons selected at random. The defendant and the defendant’s attorney would
have a say in who the jurors would be by removing prospective jurors for cause
where actual bias or other disqualification is shown, or without cause by exercising
peremptory challenges. The jury would have to agree unanimously before it could
return a verdict of either guilty or not guilty. The jury would be instructed that the
defendant is presumed innocent, and that it could not convict unless, after hearing
all the evidence, it was persuaded of the defendant’s guilt beyond a reasonable
doubt.

(f) If the trial is held by the judge without a jury, the judge would
find the facts and determine, after hearing all of the evidence, whether or not the
judge was persuaded of the defendant’s guilt beyond a reasonable doubt.

(g) Atatrial, whether by a jury or a judge, the United States would

be required to present its witnesses and other evidence against the defendant. The

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defendant would be able to confront those government witnesses and the
defendant’s attorney would be able to cross-examine them. In turn, the defendant
could present witnesses and other evidence. If the witnesses for the defendant
would not appear voluntarily, their appearance could be mandated through the
subpoena power of the Court.

(h)  Atatrial, there is a privilege against self-incrimination so that
the defendant could decline to testify and no inference of guilt could be drawn
from the refusal to testify. Or the defendant could exercise the choice to testify.

(i) Ifconvicted, and within 14 days of the entry of the Judgment
and Commitment, the defendant would have the right to appeal the conviction to
the Ninth Circuit Court of Appeals for review to determine if any errors were made
that would entitle the defendant to reversal of the conviction.

(j) | The defendant has a right to have the district court conduct the
change of plea hearing required by Rule 11, Federal Rules of Criminal Procedure.
By execution of this agreement, the defendant waives that right and agrees to hold
that hearing before, and allow the Rule 11 colloquy to be conducted by, the U.S.

Magistrate Judge, if necessary.

(k) Ifconvicted in this matter, a defendant who is not a citizen of
the United States may be removed from the United States, denied citizenship, and

denied admission to the United States in the future.

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The defendant understands that by pleading guilty pursuant to this
agreement, the defendant is waiving all of the rights set forth in this paragraph.
The defendant’s attorney has explained these rights and the consequences of
waiving these rights.

6. | Recommendations: The United States will recommend the
defendant’s offense level be decreased by two levels for acceptance of
responsibility, pursuant to USSG §3E1.1(a), unless the defendant is found to have
obstructed justice prior to sentencing, pursuant to USSG §3C1.1, or acted in any
way inconsistent with acceptance of responsibility. The United States will move
for an additional one-level reduction, pursuant to USSG §3E1.1(b), if appropriate
under the Guidelines. The defendant agrees that the following special offense
characteristic applies for purposes of sentencing: USSG §2A6.1(b)(2).

The parties reserve the right to make any other arguments at the time of
sentencing. The defendant understands that the Court is not bound by this
recommendation.

Vs Sentencing Guidelines: Although advisory, the parties agree that the
U.S. Sentencing Guidelines must be applied, and a calculation determined, as part
of the protocol of sentencing to determine what sentence will be reasonable.

8. Waiver of Appeal of the Sentence — Conditional: The defendant
understands the law provides a right to appeal and collaterally attack the sentence

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imposed in this case. 18 U.S.C. § 3742(a); 28 U.S.C. §§ 2241, 2255. By this
agreement the defendant waives the right to appeal or collaterally attack the
sentence, including the conditions of probation or supervised release, if the
sentence imposed is within or below the Guideline range calculated by the Court,
regardless of whether the defendant agrees with that range. This waiver includes
challenges to the constitutionality of any statute of conviction and arguments the
admitted conduct does not fall within any statute of conviction. This waiver does
not prohibit the right to pursue a collateral challenge alleging ineffective assistance
of counsel.

The defendant also waives the right to appeal any aspect of a sentence
imposed below or within the Guideline range upon a revocation of supervised
release in this case number, except where the defendant unsuccessfully objects to
the grade of violation applied by the court during the district court revocation
proceedings. In that event, this waiver does not apply and the defendant may
appeal the sentence imposed upon a revocation of supervised release, even if that
sentence falls below or within the guideline range calculated by the court.

9, Disclosure of Financial Information: The defendant authorizes the
U.S. Probation Office to release to the Financial Litigation Unit of the U.S.
Attorney’s Office all documents and financial information provided by the

defendant to the U.S. Probation Office and any information obtained by the U.S.

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Probation Office about the defendant through its investigation. The defendant
further agrees to fully complete a financial statement in the form prescribed by the
U.S. Attorney’s Office, provide financial documents as requested, and submit to a
debtor’s exam if deemed appropriate by the U.S. Attorney’s Office, in order to
evaluate the defendant’s ability to satisfy any financial obligation imposed by the
Court. The defendant consents to being immediately placed on the Treasury Offset
Program to help meet the defendant’s obligation to pay restitution and/or a fine.

10. Voluntary Plea: The defendant and the defendant’s attorney
acknowledge that no threats, promises, or representations have been made to
induce the defendant to plead guilty, and that this agreement is freely and
voluntarily endorsed by the parties.

11. FOIA Waiver: The defendant waives all rights, whether asserted
directly or by a representative, to request or receive from any department or agency
of the United States any records pertaining to the investigation or prosecution of
this case, including without limitation any records that may be sought under the
Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C.
§ 552a.

12. Detention/Release After Plea: The defendant acknowledges that he
will be detained following his change of plea.

13. Breach: If defendant breaches the terms of this agreement or

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commits any new criminal offenses between signing this agreement and
sentencing, the U.S. Attorney’s Office is relieved of its obligations under this
agreement, but defendant may not withdraw any guilty plea.

14. Entire Agreement: Any statements or representations made by the
United States, the defendant, or his counsel prior to the full execution of this plea
agreement are superseded by this plea agreement. No promises or representations
have been made by the United States except as set forth in writing in this plea
agreement. This plea agreement constitutes the entire agreement between the
parties. Any term or condition which is not expressly stated as part of this plea
agreement is not to be considered part of the agreement.

TIMOTHY J: RAGICOT
First ited States Attorney

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fed by 28 U.S.C. § 515

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JEFFREYK. STARNES
Assistant U.S. Attorneys
Date: «(zahs

“ ANTHONY JAMES CROSS

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GLEE GOSCH
Defense Counsel

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